900 F.2d 254Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Curtis Van OUTLAW, Plaintiff-Appellant,v.David MAPP, Sheriff;  Officer Collins;  Officer Gonzales,Defendants-Appellees.
    No. 89-6874.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  March 5, 1990.Decided:  March 21, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Alexandria.  T.S. Ellis, III, District Judge.  (C/A No. 89-1413-AM)
      Curtis Van Outlaw, appellant pro se.
      Conrad Moss Shumadine, Willcox &amp; Savage, PC, Norfolk, Va., for appellees.
      E.D.Va.
      AFFIRMED.
      Before ERVIN, Chief Judge, and PHILLIPS and WILKINSON, Circuit Judges.
      PER CURIAM:
    
    
      1
      Curtis Van Outlaw appeals from the district court's order denying relief under 42 U.S.C. Sec. 1983.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Outlaw v. Mapp, CA-89-1413-AM (E.D.Va. Sept. 27, 1989).  We also dismiss Outlaw's motion for summary judgment under Fed.R.Civ.P. 56 as improperly filed in this Court.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    